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CAUSE N0. 41160/ 57 l\ w

 

. Bradley, ¢le,k dowd
IN THE UNITED STATES DISTRICT CGURT

SOUTHERN DISTRICT OF TEXAS HOUSTON DIVISION

YOLANDA M.WILLIAMS
Plaintiff
V
UNIVERSITY OF TEXAS POLICE DEPARTMENT et.al.
Defendant(S)

ORIGINAL

 

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Q_CM’_LAI_NT__

Plaintiff, YOLANDA M WILLIAMS hereby sues above mention
defendants and alleges as follows:

INTRODUCTION

1. The above listed defendants wrongfully arrested the plaintiff
with no probable cause/sexually assaulted/assaulted and
intentionally falsify information into plaintiff record, invoking
prior arrest to gain a conviction. Also, plaintiff alleges
unreasonable search and seizure.

JURISDICTION AND VENUE
2. This court has jurisdiction over this matter because the
plaintiff civil lawsuit excess the amount of 10,000 dollars. In

which, excess the amount of the smalls claim court.

 

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PRAYER FOR RELIEF

WHEREFORE, the plaintiff respectfully requests this court to

grant a monetary judgment for the reason stated in this motion and the

evidence to be presented in court.

Yolanda M.Williams

  

P.O. BoX 524303
Houston, TX 77052

' wlonda48@gmail.c0m

281-804-8292

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No.
l_N THE UNITED STATES DlSTRlCT COURT

SOUTHERN DlSTRlC`l' OF TEXAS HOUSTON DlVlSlON

YOLANDA Nl. W|LLlAl\/l$
Plaintiff
v
UN|VERS|TY OF TEXAS POL|CE DEPARTMENT » et.al.

Defendant

l, Yolanda Nl. Williams, do swear or declare that on this date w

2018, as required by law; l have served a motion for a civil lawsuit on each party to the above
proceeding or that party's counsel, and on every other person required to be reserved, by email or first
class postage prepaid.

UN|VERS|TY OF TEXAS POL|CE DEPARTMENT - et.a|.

7777 Knight Road

Houston, Texas 77054

l declare under penalty of perjury that the foregoing is true and correct.

Executed on /O [/Q f /¢f

 

 

